                                                                                Motion GRANTED.
                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA

VS.                                                  NO. 2:11-cr-00002-022
                                                     MAGISTRATE JUDGE BRYANT
MARCIA PRESS

                            JOINT MOTION TO WAIVE HEARING
                                   ON VIOLATION OF
                           SUPERVISION AND PROPOSED ORDER

       Come counsel for the defendant Marcia Press and A.U.S.A. Blanche Cook to move this

Honorable Court to consider and adopt the attached Order which has been agreed to by the

parties, to waive the hearing on Petition for Violation of Supervision and impose a sentence of 9

months, the maximum under the U.S. Sentencing Guidelines as calculated by U.S. Probation

Officer Kara Sanders. Ms. Press admits the alleged violations contained in the petition. For

grounds, the parties would show to the Court the following:

       1.      A hearing on a Petition for Revocation of Supervision is set for August 23, 2013,

            at 10:00am. (DE 1562)

       2.      On March 26, 2013, this court issued an order on a prior Petition for Revocation

            of Supervision, which included a sentence in custody of 30 days, to be followed by

            reporting to and participation in the Hope Center In-Patient Treatment Program

            offered through the Rescue Mission, for a minimum of 7 months and a maximum of

            18 months, to be jointly determined by the treatment program and the Probation

            Officer. (DE 1456) As a further condition, the Court ruled that if terminated from the

            Hope Center program prior to completion, Ms. Press would be sentenced to the


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